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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

HELEN SWARTZ, Individually,

Plaintiff,

V.
Case No. 2:18-cv-02781-JP

STARWOOD HOTELS & RESORTS
WORLDWIDE, LLC, a Maryland
Limited Liability Company, CHIMES
OF FREEDOM, LLC, a Delaware
Limited Liability Company, and
HHLP LIBERTY LESSEE, LLC,
a Delaware Limited Liability Company,

Defendants.

 

FIRST AMENDED COMPLAINT

Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other
mobility-impaired individuals similarly-situated, (sometimes referred to as “Plaintiff‘), hereby
sues the Defendants, STARWOOD HOTELS & RESORTS WORLDWIDE, LLC, a Maryland
Limited Liability Company, CHIMES OF FREEDOM, LLC, A Delaware Limited Liability, and
HHLP LIBERTY LESSEE, LLC, a Delaware Limited Liability Company (sometimes referred to
as “Defendants”) for Injunctive Relief, and attorney’s fees, litigation expenses, and costs
pursuant to the Americans with Disabilities Act, 42 USC § 12181 et seq. (“ADA”).

1. Plaintiff, HELEN SWARTZ, resides in Miami Beach, Florida, in the County of
Miami-Dade.

2. Defendants’ property, The Westin Philadelphia Hotel, is located at 99 South 17th

Street, Philadelphia, PA, in the County of Philadelphia.
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a Venue is properly located in the Eastern District of Pennsylvania because venue
lies in the judicial district of the property situs. The Defendants’ property is located in and does
business within this judicial district.

4. Pursuant to 28 USC § 1331 and 28 USC § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendants’ violations of Title III of the
Americans with Disabilities Act, 42 USC § 12181 et seq. See, also, 28 USC § 2201 and § 2202.

> Plaintiff, HELEN SWARTZ is a Florida resident, is sui juris, has multiple
sclerosis and relies on the use of an electric scooter to ambulate, as she is mobility impaired.
She qualifies as a person with disabilities, as defined by the Americans with Disabilities Act.

Helen Swartz was born and raised in New York City and moved to the
Philadelphia area in 1978 to attend graduate school. After completion of her studies, she
founded a business and resided in the area until 2011. She was active in the business
community and has many long-standing relationships that she has maintained throughout the
years. She also had two children during those years, through which she knew many people.

Her elder daughter and granddaughter live in the surrounding area and she often meets
them in Center City, Philadelphia, so that they may enjoy cultural activities, dining and
shopping in Philadelphia. She has often taken her granddaughter to the Museum of Natural
History and Please Touch Museums in Philadelphia. Ms. Swartz also enjoys meeting her
Philadelphia-based friends in various restaurants and attending local shows in Philadelphia.

Helen Swartz visited the property which forms the basis of this lawsuit, and has
reservations to return to the property to avail herself of the goods and services offered to the
public at the property, if the facilities are fully accessible and the barriers to access have been

corrected. The Plaintiff has encountered architectural barriers at the subject property, which
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have impaired her use of the facilities and the amenities offered, and have endangered her safety
at the facilities and her ability to access the facilities the property has to offer and use the
restrooms.

6. HELEN SWARTZ has patronized the hotel which forms the basis of this lawsuit
on several occasions. She plans to return to the facility in the near future, once the facility is
made accessible, to avail herself of the goods and services offered to the public at the property.

7. The Plaintiff has encountered architectural barriers at the subject property, which
are enumerated in paragraph 11. The barriers to access at the property have endangered her
safety, and adversely affected her ability to use the facilities.

8. Defendants own, lease, lease to, or operate a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendants are responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendants own, operate, lease or lease to is known as The Westin
Philadelphia Hotel, and is located at 99 South 17th Street, Philadelphia, PA 19103, in the
County of Philadelphia.

9. HELEN SWARTZ has a realistic, credible, existing and continuing threat of
discrimination from the Defendants’ non-compliance with the ADA with respect to this property
as described but not necessarily limited to the allegations in Paragraph 11 of this First Amended
Complaint. Plaintiff has reasonable grounds to believe that she will continue to be subjected to
discrimination in violation of the ADA by the Defendants. HELEN SWARTZ desires to visit
The Westin Philadelphia Hotel not only to avail herself of the goods and services available at the

property but to assure herself that this property is in compliance with the ADA so that she and
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others similarly-situated will have full and equal enjoyment of the property without fear of
discrimination.

10... The Defendants have discriminated against the individual Plaintiff by denying her
access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the hotel, as prohibited by 42 USC § 12182 et seq.

11. The Defendants have discriminated, and are continuing to discriminate, against
the Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January
26, 1992 (or January 26, 1993, if Defendants have 10 or fewer employees and gross receipts of
$500,000 or less). A preliminary inspection of the The Westin Philadelphia Hotel has shown
that violations exist. These violations which HELEN SWARTZ personally observed or
encountered, and which were verified by an ADA expert, include, but are not limited to:

a. The elevator card reader is out of reach to a person in a wheelchair. This
is in violation of sections 308 & 407.2.1.1 of the 2010 Standards for Accessible Design.
§36.304 This condition made denies the plaintiff the ability to use her credit card to
access the machine.

b. The door to the accessible guestroom bathroom requires tight grasping,
pinching, or twisting of the wrist to operate. This is in violation of sections 404.2.7
806.2.4 of the 2010 Standards for Accessible Design. §36.304. This condition made it
difficult for the Plaintiff to use the facilities.

c. In the accessible guestroom bathroom, the flush control is on the narrow
side of the water closet. This is in violation of section 806.2.4 of the 2010 Standards
for Accessible Design. §36.304. This condition made it difficult for the Plaintiff to use
the facilities.

d. The shower spray unit provided in the accessible guestroom bathroom
does not have an on/off control with a non-positive shut-off. This is in violation of
section 806.2.4 of the 2010 Standards for Accessible Design. §36.304. This condition
made it difficult for the Plaintiff to use the facility.
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e. In the accessible guestroom a clear floor space is not provided on both
sides of a bed. This is in violation of section 806.2.3 of the 2010 Standards for
Accessible Design. §36.304. This condition denies the Plaintiff access around the bed.

f. The HVAC is out of reach to a person using a wheelchair. This is in
violation of sections 308 & 806.2.3 of the 2010 Standards for Accessible Design.
§36.304. This condition denies the Plaintiff access around the bed.

g. Items in the accessible guestroom and bathroom are out of reach to a
person using a wheelchair. This is in violation of section 308 of the 2010 Standards for
Accessible Design. §36.304. The condition prevented access to items inside the
accessible guestroom.

h. There are enclosed private glass rooms that are not accessible to a person
using a wheelchair. This is in violation of sections 304.3, 305.3 & 404.2.3 of the 2010
Standards for Accessible Design. §36.202 & §36.304. This condition made access
unavailable for the Plaintiff to use.

i. Accessible seating is not provided at the tables or bars around the hotel.
This is in violation of sections 226 and 902 of the 2010 Standards for Accessible
Design. This condition made it extremely difficult for the Plaintiff access to the bars and
tables in the hotel.

il Items in the Fitness Studio are out of reach to a person using a
wheelchair. This is in violation of section 308 of the 2010 Standards for Accessible
Design. §36.304. This condition made it difficult for the Plaintiff to use the facility.

k. A compliant bench in the Fitness Studio changing room is not offered to
a person in a wheelchair. This is in violation of section 903.4 of the 2010 Standards for
Accessible Design. §36.304. This condition made it difficult for the Plaintiff to use the
item.

1. An accessible lavatory is not provided in the Fitness Studio changing
room. This is in violation of section 606.2 of the 2010 Standards for Accessible
Design. §36.304. This condition made it difficult for the Plaintiff to use the item.

m. An accessible shower is not provided in the Fitness Studio changing
room. This is in violation of sections 608.3.1, 608.4 & 608.6 of the 2010 Standards for
Accessible Design. §36.304. This condition made it difficult for the Plaintiff to use the
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facility.

n. The sauna in the Fitness Studio changing room has a change in level to
enter the room. This is in violation of section 404.2.5 of the 2010 Standards for
Accessible Design. §36.304. This condition made it difficult for the Plaintiff to use the
facility.

O. There are 8 stalls in the hotel accessible toilet room, however an alternate
stall is not provided. This is in violation of section 213.3.1 of the 2010 Standards for
Accessible Design. §36.304. This condition makes it difficult to use the facility.

p. The hook in the accessible toilet room is mounted to high for a person in
a wheelchair to access. This is in violation of section 308 of the 2010 Standards for
Accessible Design. §36.304. This condition makes it difficult to use the facility.

q. Access to the lavatory is not provided in the 4" floor accessible toilet
room. This is in violation of section 606.2 of the 2010 Standards for Accessible
Design. §36.304. This condition makes it difficult to use the facility.

r. An alarm is not provided in the 4" floor toilet compartment. This is in
violation of section 215.2 of the 2010 Standards for Accessible Design. §36.304. This
condition makes it difficult to use the facility.

S. A maneuvering clearance is not provided to exit the 4" floor toilet room.
This is in violation of section 404.2.4 of the 2010 Standards for Accessible Design.
§36.304. This condition makes it difficult to use the facility.

t. The assorted toilet room entry doors opening force are heavy. This is in
violation of section 404.2.9 of the 2010 Standards for Accessible Design. §36.304. This
condition makes it difficult to use the facility.

u. The mobile coat rack is too high for a person in a wheelchair to access.
This is in violation of section 811.3 of the 2010 Standards for Accessible Design.
§36.304. This condition makes it difficult to use the item.

V. The plaintiff was unable to book an accessible guestroom on any of the
hotel’s websites. This is in violation of section §36.302(e)(1)(i-v)(3).

Ww. The hotel does not provide the required amount of compliant accessible
guest rooms. This is in violation of section 224 of the 2010 Standards for Accessible
Design. §36.304. This denies to Plaintiff the full and equal opportunity to stay at the
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subject hotel.

Maintenance

q- The accessible features of the facility are not maintained, creating barriers
to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

12. All of the foregoing cited violations are violations of both the 1991 Americans
with Disabilities Act Guidelines (ADAAG) and the 2010 Standards for Accessible Design, as
adopted by the Department of Justice.

13. The discriminatory violations described in Paragraph 11 are not an exclusive list
of the Defendants’ ADA violations. Plaintiff requires the inspection of the Defendants’ place of
public accommodation in order to photograph and measure all of the discriminatory acts
violating the ADA and all of the barriers to access. The individual Plaintiff, and all other
individuals similarly-situated, have been denied access to, and have been denied the benefits of
services, programs and activities of the Defendants’ facilities, and have otherwise been
discriminated against and damaged by the Defendants because of the Defendants’ ADA
violations, as set forth above. The individual Plaintiff, and all others similarly-situated will
continue to suffer such discrimination, injury and damage without the immediate relief provided
by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff
requires an inspection of the Defendants’ place of public accommodation in order to determine
all of the areas of non-compliance with the Americans with Disabilities Act.

14. Defendants have discriminated against the individual Plaintiff by denying her
access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in violation of 42

USC § 12181 et seq. and 28 CFR. 36.302 et seg. Furthermore, the Defendants continue to
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discriminate against the Plaintiff, and all those similarly-situated by failing to make reasonable
modifications in policies, practices or procedures, when such modifications are necessary to
afford all offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such efforts that may be necessary to ensure
that no individual with a disability is excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and services.

15. Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendants, a remedy in equity is
warranted. Furthermore, the public interest would not be disserved by a permanent injunction.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and
litigation expenses from the Defendants pursuant to 42 USC § 12205 and 28 CFR 36.505.

16. Defendants are required to remove the existing architectural barriers to the
physically disabled, when such removal is readily achievable for its place of public
accommodation that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,
if there has been an alteration to Defendants’ place of public accommodation since January 26,
1992, then the Defendants are required to ensure to the maximum extent feasible, that the altered
portions of the facility are readily accessible to and useable by individuals with disabilities,
including individuals who use walkers and wheelchairs, 28 CFR 36.402; and finally, if the
Defendants’ facility is one which was designed and constructed for first occupancy subsequent to
January 26, 1993, as defined in 28 CFR 36.401, then the Defendants’ facility must be readily
accessible to and useable by individuals with disabilities as defined by the ADA.

17. Notice to Defendants is not required as a result of the Defendants’ failure to cure

the violations by January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer
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employees and gross receipts of $500,000 or less). All other conditions precedent have been
met by Plaintiff or waived by the Defendants.

18. Pursuant to 42 USC § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendants to alter the The Westin
Philadelphia Hotel to make those facilities readily accessible and useable to the Plaintiff and all
other persons with disabilities as defined by the ADA; or by closing the facility until such time as
the Defendants cure their violations of the ADA. The Order shall further require the Defendants

to maintain the required assessable features on an ongoing basis.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the
Defendants at the commencement of the subject lawsuit are in violation of Title III of the
Americans with Disabilities Act, 42 USC § 12181 et seq.

b. Injunctive relief against the Defendants including an order to make all
readily achievable alterations to the facility; or to make such facility readily accessible to
and useable by individuals with disabilities to the extent required by the ADA; and to
require the Defendants to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals with disabilities; and
by failing to take such steps that may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise treated differently than

other individuals because of the absence of auxiliary aids and services.
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c. An award of attorney’s fees, costs and litigation expenses pursuant to 42
USC § 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.

Respectfully submitted,

(QDDSLOs_

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Attorneys for Plaintiffs

Dated: August , 2018

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this roe day of August, 2018, the foregoing was
filed via the Court’s CM/ECF system, which will automatically generate notice to counsel for

Defendant: Elizabeth Rodriquez, Esq., erodriguez@fordharrison.com, Ford Harrison LLP, 100

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